                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

 UNITED STATES OF AMERICA,                         )
                      Plaintiff,                   )
                                                   )
 vs.                                               )    CASE NO. DNCW3:05CR277-8
                                                   )    (Financial Litigation Unit)
 SHAWN HOWIE                                       )
                               Defendant,          )
                                                   )
 and                                               )
                                                   )
 YELLOW ROSE CAFE & BILLIARDS,                     )
                      Garnishee.                   )


             DISMISSAL OF ORDER OF CONTINUING GARNISHMENT

       Upon motion of the United States for the reasons stated therein and for good cause shown,

it is ORDERED that the Order of Continuing Garnishment filed in this case against Defendant

Shawn Howie is DISMISSED.




   Case 3:05-cr-00277-FDW-DCK            Document 755       Filed 06/10/15     Page 1 of 1
